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                                                                APPENDIX C




    THIS LIQUIDATION ANALYSIS PRESENTS INFORMATION FOR ALL
    REORGANIZED DEBTORS ON A CONSOLIDATED BASIS. PRIOR TO THE
    HEARING TO APPROVE THE DISCLOSURE STATEMENT, THE
    DEBTORS WILL REPLACE THIS LIQUIDATION ANALYSIS WITH A
    REVISED   LIQUIDATION  ANALYSIS   THAT    WILL   INCLUDE
    SEPARATELY A LIQUIDATION ANALYSIS WITH RESPECT TO THE
    DELTA DEBTORS AND A LIQUIDATION ANALYSIS WITH RESPECT TO
    THE COMAIR DEBTORS.




                    LIQUIDATION ANALYSIS
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                            Consolidated Hypothetical Liquidation Analysis for
                                Delta Air Lines, Inc. and its subsidiaries1
                                            (UNAUDITED)


  Book Value is based on Debtors September 30, 2006 Unaudited Balance Sheet Data
  ($MM)

      Notes   DIP Repayment
               Consolidated Cash and ST Investments                               $    2,808
       1         Less: DIP Repayment                                                  (2,015)
               Remaining Consolidated Cash and ST Investments                     $      793


              Assets
                                                                                                Low                                      High
                                                                                                Estimated     Estimated                  Estimated       Estimated
                                                                                    Book        Recovery      Recovery                   Recovery        Recovery
                                                                                    Value         Value          Rate                      Value           Rate
        2      Cash and ST Investments                                                  793           793      100.0%                          793        100.0%
        3      Restricted Cash                                                        1,021           -          0.0%                          -           0.0%
        4      Third-Party Accounts Receivable                                          999           389       39.0%                          584        58.5%
        5      I/C Pre-Petition Receivables                                             N/A           N/A         N/A                          N/A          N/A
        6      I/C Post-Petition Receivables                                            N/A           N/A         N/A                          N/A          N/A
        7      Fuel Inventory                                                           125           119       94.9%                          123        98.0%
        8      Other Current Assets                                                     928             86       9.3%                          129        13.9%
        9      Flight Equipment                                                      11,547         6,011       52.1%                        6,643        57.5%
       10      Other Property and Equipment                                           1,824           194       10.6%                          274        15.0%
       11      Intangible Assets                                                        296           672      227.0%                          766        259.1%
       12      Other Assets                                                           1,133           142       12.5%                          175        15.4%
                  Total Assets / Proceeds                                         $ 18,666      $ 8,406         45.0%                    $ 9,487          50.8%

              Chapter 7 Administrative Claims
                                                                                                Low                                      High
       13      Trustee Fees                                                                           (167)    -2.2%                            (191)     -2.2%
       14      Trustee's Counsel and Related                                                          (107)    -1.4%                            (156)     -1.8%
       15      Wind-Down and Professional Fees                                                        (150)    -2.0%                            (256)     -2.9%
                 Total Liquidation Costs                                                        $     (424)                              $      (603)

              Net Proceeds Available to Creditors                                               $     7,981                              $      8,884

              Estimated Recovery to Creditors
                                                                                  Low                                     High
                                                                                  Estimated     Estimated     Estimated   Estimated      Estimated       Estimated
                                                                                   Allowed       Amount       Recovery     Allowed        Amount         Recovery
                                                                                    Claim         Paid          Rate        Claim          Paid            Rate
               Net Proceeds Available for Secured Creditors                                     $ 7,981                                  $ 8,884
       16        Secured Claims                                                         8,459      (7,981)     94.4%             8,459       (8,459)      100.0%
               Net Proceeds Available for Administrative and Priority Creditors                 $     -                                  $      425
       17        Total Administrative and Priority Claims                             12,862          -        0.0%          12,682            (425)      3.3%
               Net Proceeds Available to Unsecured Claims                                       $     -                                  $      -
       18        Unsecured Claims                                                     22,374          -        0.0%          21,484             -         0.0%




  1
   This Liquidation Analysis should be read in conjunction with the accompanying Reservations,
  Assumptions and Notes.


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  A. Introduction and Reservations2

           In connection with the Plan and Disclosure Statement, the following hypothetical
  liquidation analysis ( Liquidation Analysis ) has been prepared by Debtors
  management with the assistance of the Debtors advisors. This Liquidation Analysis is
  for all the Debtors on a consolidated basis. Prior to the hearing to approve the Disclosure
  Statement, the Debtors will replace this Liquidation Analysis with a revised Liquidation
  Analysis that will include separately a liquidation analysis with respect to Delta Debtors
  and a liquidation analysis with respect to Comair Debtors.

         This Liquidation Analysis should be read in conjunction with the Plan and the
  Disclosure Statement.

          The Debtors, with the assistance of their financial advisors, have prepared this
  Liquidation Analysis for the purpose of evaluating whether the Plan meets the so-called
   best interests test under section 1129(a)(7) of the Bankruptcy Code. The Liquidation
  Analysis has been prepared assuming the Debtors current Chapter 11 Cases convert to
  chapter 7 proceedings under the Bankruptcy Code on April 30, 2007 ( Liquidation
  Date ) and their assets are liquidated. A chapter 7 trustee ( Trustee ) would be
  appointed or elected to commence the liquidation of all of the Debtors assets. To
  maximize recovery, the liquidation is assumed to occur over a 12 to 18 month period (the
   Wind Down Period ). The Liquidation Analysis is based on unaudited book values as
  of September 30, 2006, and these values, in total, are assumed to be representative of the
  Debtors assets and liabilities as of the Liquidation Date. Values associated with Non-
  Debtor Affiliates are contained within such assets and liabilities. However, the
  Liquidation Analysis does not include recoveries resulting from any potential preference
  claims, fraudulent conveyance litigation, or other avoidance actions.

         Estimating recoveries in any hypothetical chapter 7 liquidation case is an
  uncertain process due to the number of unknown variables. Thus extensive use of
  estimates and assumptions has been made that, although considered reasonable by
  Debtors management and their advisors, are inherently subject to significant business,
  economic and competitive uncertainties and contingencies beyond the control of the
  Debtors. THE DEBTORS MAKE NO REPRESENTATIONS OR WARRANTIES
  REGARDING THE ACCURACY OF THE ESTIMATES AND ASSUMPTIONS OR A
  TRUSTEE S ABILITY TO ACHIEVE FORECASTED RESULTS. IN THE EVENT
  THE CHAPTER 11 CASES ARE CONVERTED TO CHAPTER 7, ACTUAL
  RESULTS MAY VARY MATERIALLY FROM THE ESTIMATES AND
  PROJECTIONS SET FORTH IN THE LIQUIDATION ANALYSIS.

         The Liquidation Analysis indicates the estimated values that would be obtained
  upon disposition of assets pursuant to a hypothetical chapter 7 liquidation, as an

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   Capitalized terms used but not otherwise defined herein have the meanings given to such terms in the
  Disclosure Statement to which this Appendix is attached.


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  alternative to continued operation of the business as proposed under the Plan.
  Accordingly, values discussed herein are different than amounts referred to in the Plan,
  which illustrates the value of the Debtors business as a going concern.

          In preparing the Liquidation Analysis, the amount of Allowed Claims have been
  projected based upon a review of scheduled Claims and all Proofs of Claims associated
  with pre-petition and post-petition obligations. Additional Claims were estimated to
  include certain post-petition obligations on account of which Claims have not been
  asserted, but which would be asserted in a hypothetical chapter 7 liquidation. These
  potential Claims are primarily comprised of unused tickets, pension and related
  obligations, and lease and contract rejections including additional Administrative Claims
  relating to damages for breach of contracts and leases that were assumed during the
  Chapter 11 Cases. In the event litigation were necessary to resolve Claims asserted in a
  chapter 7 liquidation, the delay could be prolonged and Claims could further increase.
  The effects of this delay on the value of distributions under the hypothetical liquidation
  have not been considered. No Order or finding has been entered by the Bankruptcy Court
  estimating or otherwise fixing the amount of Claims at the estimated amounts set forth in
  the Liquidation Analysis. THE ESTIMATED AMOUNT OF ALLOWED CLAIMS SET
  FORTH IN THE LIQUIDATION ANALYSIS SHOULD NOT BE RELIED UPON FOR
  ANY OTHER PURPOSE, INCLUDING, WITHOUT LIMITATION, ANY
  DETERMINATION OF THE VALUE OF ANY DISTRIBUTION TO BE MADE ON
  ACCOUNT OF ALLOWED CLAIMS UNDER THE PLAN. THE ACTUAL AMOUNT
  OF ALLOWED CLAIMS IN THE CHAPTER 11 CASES COULD MATERIALLY
  AND SIGNIFICANTLY DIFFER FROM THE AMOUNT OF CLAIMS ESTIMATED
  IN THE LIQUIDATION ANALYSIS.

       THE PROJECTED HYPOTHETICAL RECOVERY RANGE IN A CHAPTER 7
  LIQUIDATION DESCRIBED HERE IS BASED ON CONSOLIDATED DEBTORS
  THAT INCLUDES DELTA DEBTORS AND COMAIR DEBTORS. FOR THE
  PURPOSES OF THE SO CALLED BEST INTERESTS TEST, THE PROJECTED
  HYPOTHETICAL RECOVERIES WILL BE BASED UPON SEPARATE
  LIQUIDATION ANALYSIS OF THE COMAIR DEBTORS AND THE DELTA
  DEBTORS AND SEPARATE ESTIMATES OF ALLOWED CLAIMS AGAINST
  EACH. THE RECOVERIES WILL ALSO CHANGE BASED ON FURTHER
  REFINEMENTS OF ALLOWED CLAIMS AS THE DEBTORS CLAIM OBJECTION
  AND RECONCILIATION PROCESS CONTINUES.

  B. Assumptions and Notes

         The Liquidation Analysis refers to certain categories of Assets, liquidation costs,
  and Claims. The following notes describe significant assumptions associated within each
  category.

     1. DIP Repayment. In a liquidation scenario, the Debtors debtor-in-possession
        lenders (including the DIP Lenders and Amex) ( DIP Lenders ) would have a
        senior secured and joint and several super-priority claim ( DIP Claim ) against



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        each of the Debtors for the outstanding balance of the debtors post-petition
        debtor-in-possession financings (including the Amex Post-Petition Facility and
        the DIP Facility). The Liquidation Analysis assumes that the DIP Claim will be
        satisfied from the Debtors Consolidated Cash and Short-Term Investments prior
        to the Trustee s use of the Debtors liquidated assets to satisfy the remaining
        Claims .

     Assets

     2. Cash and ST Investments. This represents remaining cash and short-term
        investments following repayment of the DIP Claim as described in the DIP
        Repayment note. The estimated recovery for this asset is 100%.

     3. Restricted Cash. This is primarily composed of cash collateral held by Debtors
        credit card processors and cash collateral intended for workers compensation
        claims. The Liquidation Analysis assumes that cash collateral held by credit card
        processors will be used to refund a portion of customers unused tickets. In
        addition, the Liquidation Analysis assumes that workers compensation deposits
        would be withheld to satisfy the Debtors accrued workers compensation
        liabilities and any remaining deposits would be retained by state agencies to
        insure potential workers compensation claims that are not currently reflected in
        the Debtors books and records. The estimated recovery for this asset is 0%.

     4. Third-Party Accounts Receivable. Third-Party Accounts Receivable represents
        amounts owed to the Debtors by various parties, some of which have been offset
        against accounts payable for the purpose of the Liquidation Analysis. The
        remaining accounts receivable balance is estimated to have a recovery rate
        between 39% and 58.5%.

     5. I/C Pre-Petition Receivables. This represents pre-petition intercompany amounts
        owed to the respective Debtor entity by other Debtor entities. The Liquidation
        Analysis is on a consolidated basis and ignores such receivables because
        consolidation results in the combination of all assets and liabilities of the Debtors.

     6. I/C Post-Petition Receivables. This represents post-petition intercompany
        amounts owed to the respective Debtor entity by other Debtor entities. The
        Liquidation Analysis is on a consolidated basis and ignores such receivables
        because consolidation results in the combination of all assets and liabilities of the
        Debtors.

     7. Fuel Inventory. This represents the Debtors supply of aircraft fuel held at
        stations as well as prepaid fuel inventory. The estimated recovery for aircraft fuel
        is assumed to be between 94.9% and 98%.

     8. Other Current Assets. Other Current Assets include items such as deferred
        income taxes, spare parts inventory, and various prepaid expenses. The



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        Liquidation Analysis assumes no recovery for deferred income taxes and prepaid
        expenses, and between 40% and 60% recovery for spare parts inventory. The
        aggregate estimated recovery is assumed to be between 9.3% and 13.9%.

     9. Flight Equipment. This includes owned aircraft, engines, and rotables, as well as
        aircraft under capital lease. Estimated recovery values for owned aircraft and
        related items are based on recently appraised orderly liquidation values. The
        Liquidation Analysis assumes that aircraft under capital lease would be rejected,
        yielding no recovery value. The aggregate estimated recovery is assumed to be
        between 52.1% and 57.5%.

     10. Other Property and Equipment. This primarily consists of land, buildings,
         technology, miscellaneous ground and training equipment, and advance deposits
         on aircraft. Estimated recovery values for land and buildings are based on
         recently appraised fair market values. Estimated recovery values for ground
         and training equipment are based on recently appraised orderly liquidation
         values. The estimated recovery value for technology is estimated to be between
         20% and 50% of current book value. The Liquidation Analysis assumes that there
         would be no recovery of advanced deposits on aircraft. The aggregate estimated
         recovery is assumed to be between 10.6% and 15%.

     11. Intangible Assets. This includes international routes, domestic slots, trademarks,
         and the Debtors customer database. This analysis relies on the Debtors
         knowledge of the industry, as well as third-party appraisals, to value intangible
         assets. The book value of these intangible assets represents only the value of
         acquired assets; therefore, the estimated recovery value significantly exceeds the
         book value. The aggregate estimated recovery is assumed to be between 227%
         and 259.1%.

     12. Other Assets. These include certain long-term investments, miscellaneous pre-
         payments, and additional restricted cash. The analysis estimates 100% recovery
         of certain long-term investments, 0% recovery of pre-payments, and between 40%
         and 60% recovery of other non-operating assets. The additional restricted cash
         within the Other Assets category receives the same treatment as described in the
         Restricted Cash note. The foreign operations of the Debtors represent an
         immaterial portion of the Debtors business. Therefore, while foreign assets and
         liabilities are included in the Liquidation Analysis, a detailed evaluation of each
         foreign jurisdiction s laws as it relates to the recovery of assets and distribution of
         proceeds has not been performed. No assumption is made for the interest income
         that could be earned on liquidation proceeds being held prior to distribution. Such
         amounts would not materially alter the results of the Liquidation Analysis. The
         aggregate estimated recovery is assumed to be between 12.5% and 15.4%.

  Chapter 7 Administrative Claims




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     13. Trustee Fees. These include fees that would be payable to the Trustee by each
         Debtor in accordance with the section 326 of the Bankruptcy Code. Trustee Fees
         are estimated to be 2.2% of the total asset recovery value, excluding Cash and ST
         Investments.

     14. Trustee s Counsel and Related. This includes fees and expenses incurred by the
         Trustee s legal and professional counsel associated with the wind-down of the
         Debtors estates. These fees are estimated to be between 1.4% and 1.8% of the
         total asset recovery value, excluding Cash and ST Investments.

     15. Wind-Down and Professional Fees. This includes estimated expenses that would
         be incurred during the Wind-Down Period, including wages and benefits for
         employed personnel, aircraft storage costs, general overhead costs, and
         professional fees.


  Claims

     16. Secured Claims. This primarily represents Claims secured by certain Aircraft
         Equipment. The Allowed Claim amount is equal to the liquidation value ascribed
         to the underlying collateral. Any debt that is not satisfied by the value of the
         underlying collateral becomes an unsecured deficiency Claim and is included in
         the estimated amount for Unsecured Claims.

     17. Total Administrative and Priority Claims. Prior to determining what proceeds
         would be available for general unsecured creditors under a chapter 7 proceedings,
         Cash and asset liquidation proceeds would be reduced in order to satisfy chapter
         11 Administrative Claims, tax, and priority Claims that are senior to Unsecured
         Claims, including any incremental Administrative Claims that may result from the
         termination of the Debtors businesses and the liquidation of their assets,
         including, but not limited to, Claims for unused tickets, post-petition contract
         rejection Claims, and post-petition lease rejection Claims. Any remaining Cash
         after satisfaction of these Claims would be available for distribution to general
         unsecured creditors in accordance with the distribution hierarchy established by
         section 726 of the Bankruptcy Code.

     18. Unsecured Claims. This includes PBGC s Claims for termination of all of
         Debtors defined benefit pension plans (including the Delta Retirement Plan
         relating to non-pilot employees), aircraft deficiency claims, pre-petition contract
         rejection damages Claims, pre-petition trade payables and include estimates for
         incremental rejection Claims that would result from the liquidation of the
         Debtors businesses. If the Debtors enter chapter 7 proceedings, the amount of
         Unsecured Claims would increase dramatically as the number of customers,
         vendors, and counterparties to contracts and leases is significant, and each such
         party could file Claims for damages. Such Claims would be pari-passu with the
         Debtors current Unsecured Claims, would significantly increase the Claims



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        against the Debtors, and ultimately reduce the overall recovery to the Debtors
        unsecured creditors.




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